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                                                            United States Courts
                                                          Southern District of Texas
                                                                   FILED
                                                             January 15, 2021
                                                        Nathan Ochsner, Clerk of Court

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